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   8                        UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
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  11   COR SECURITIES HOLDINGS INC.,                CASE NO. 8:17-CV-01403 DOC
       a Delaware Corporation; and COR              (KESx)
  12   CLEARING LLC, a Delaware limited
       liability company,                           HON. DAVID O. CARTER
  13
                          Plaintiffs,
  14
             v.
  15                                                ORDER GRANTING
       BANC OF CALIFORNIA, N.A., a                  STIPULATION OF DISMISSAL
  16   nationally chartered bank under the laws     [91]
       of California; HUGH F. BOYLE, an
  17   individual; and DOES 1-10,
  18                      Defendants.
  19
       BANC OF CALIFORNIA, N.A., a
  20   nationally chartered bank under the laws
       of California,
  21
             Counter-Complainant,
  22
             v.
  23
       COR SECURITIES HOLDINGS INC., a
  24   Delaware Corporation; and COR
       CLEARING LLC, a Delaware limited
  25   liability company,
  26         Counter-Defendants.
  27
  28

                                            ORDER
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   1                                         ORDER
   2         The Court, having reviewed the parties’ Stipulation of Dismissal, and good
   3   cause appearing, hereby APPROVES the Stipulation and ORDERS that:
   4         (1) This action is dismissed in its entirety. The claims alleged on behalf of
   5   Plaintiffs COR Securities Holdings Inc. (“CORSHI”) and COR Clearing LLC
   6   (“COR Clearing”) against Defendants Banc and Hugh Boyle shall be dismissed
   7   with prejudice. Banc’s counterclaims against Plaintiffs CORSHI and COR
   8   Clearing shall be dismissed with prejudice.
   9         (2) Each party shall bear her or its own costs and expenses, including
  10   attorneys’ fees.
  11         IT IS SO ORDERED:
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  13   Dated: June 12, 2019
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  18                                                     Hon. David O. Carter
                                                       United States District Judge
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                                              ORDER
